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                IN THE UNITED STATES DISTRICT COURT FOR
              THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                   *
SUNNY JANI, as Administrator
of the Estate of MICHAEL L.        *
WEBSTER, deceased,
                                   *
     Plaintiff,
v.                                 *       CIVIL NO.: WDQ-04-1606

BERT BELL/PETE ROZELLE NFL         *
PLAYER RETIREMENT PLAN,
et al.,                            *

     Defendants.                   *

*    *    *       *    *      *    *       *   *     *    *    *      *

                      MEMORANDUM OPINION AND ORDER

     Sunny Jani, Administrator of the Estate of Michael Webster

(the “Plaintiff”), sued the Bert Bell/Pete Rozell NFL Player

Retirement Plan and the NFL Player Supplemental Disability Plan

(collectively, “the Plan”) for wrongful denial of benefits under

the Employee Retirement Income Security Act of 1974 (“ERISA”), 29

U.S.C. §§ 1001 et seq. (2005).         On April 26, 2005, the Court

granted Plaintiff’s motion for summary judgment.         Pending is

Plaintiff’s petition for attorney’s fees and costs pursuant to 29

U.S.C. § 1132(g)(1).       For the following reasons, the petition

will be granted.



                                  ANALYSIS

     ERISA allows the award of “reasonable attorney’s fees.”              29

U.S.C. § 1132(g)(1).

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A.   Determining Whether to Award Attorney’s Fees

         In determining whether to award attorney’s fees courts

evaluate: 1) the opposing party’s culpability or bad faith; 2)

its ability to pay; 3) whether awarding attorney’s fees would

deter others; 4) whether the party requesting attorney’s fees

sought to benefit all plan participants and beneficiaries or to

resolve a significant legal question regarding ERISA; and 5) the

relative merits of the parties’ positions.        Johannssen v.

District No. 1 - Pacific Coast District, MEBA Pension Plan, 292

F.3d 159, 178-9 (4th Cir. 2002); Quesinberry v. Life Insurance

Company of North America, 987 F.2d 1017 (4th Cir. 1993).          No one

factor is determinative, however, these factors are the “nuclei

of concerns that a court should address.”        Quesinberry, 987 F.2d

1017, 1029.



1.   Degree of Culpability

      Culpability connotes wrongful conduct that is not

intentional or deliberate.     Clark v. Metropolitan Life Insurance

Company, 2005 WL 1667785, slip op. (E.D.Va. 2005); Edmonds v.

Hughes Aircraft Co., 1998 WL 782016, slip op. (E.D.Va. 1998).

Culpability can be found where a plans decision is “discernibly

against the weight of the evidence.”       Edmonds, 1998 WL 782016 at

*5; see also Edmonds v. Hughes Aircraft, 145 F.3D 1324 (4th Cir.

1998).


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     Bad faith connotes deliberate misconduct to harm another or

advance one's self-interest.     Clark, 2005 WL 1667785 (bad faith

found where the plan denied death benefits contrary to the

opinion of its own medical expert and after an incomplete

investigation); Cox v. Reliance Standard Life Insurance, 179

F.Supp.2d 630 (E.D.Va. 2001)(bad faith found where plan denied

death benefits after an inadequate investigation and where the

plan sought out, but then rejected the opinion of Commonwealth's

attorney that it would be impossible to determine whether

beneficiary was committing a felony at the time of his death).

Not every abuse of discretion constitutes bad faith.         Wheeler v.

Dynamic Engineering, Inc., 62 F.3d 634 (4th Cir. 1995).

     Webster was diagnosed with brain damage and applied for

benefits in 1998, contending that he had been totally disabled

since his retirement from football in 1991.       Memorandum Opinion,

p. 3,4.   Webster provided evidence that he had been unable to

work after he retired and evaluations from three doctors

(including the plan’s doctor) opining that Webster was totally

disabled by 1991.   Id at 4-6.    Despite this evidence, the Plan

found that Webster was not totally disabled until 1996 and

therefore was entitled to smaller benefits.       Id at 6.   The Plan

ignored its own doctor, relying instead on Webster’s oncologist

who did not diagnose cognitive impairments until 1996; there was

no indication that the oncologist had previously examined


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Webster’s neurological condition.         Id at 7-9.

        The Court held that the decision to deny benefits was an

abuse of discretion.      Given the overwhelming evidence supporting

Webster’s claim, the Plan’s decision indicates culpable conduct,

if not bad faith. Accordingly, this factor favors the Plaintiff.



2.   The Ability of the Parties to Pay the Fees

        The Plan does not dispute its ability to pay attorney’s

fees.    Accordingly, this factor favors the Plaintiff.



3.   Deterrence

        An award of attorney’s fees would likely deter the Plan and

other benefit plans from future abuses.         Therefore, this factor

favors the Plaintiff.



4.   Benefit to All Participants of ERISA Plans

        There is no evidence that the Plaintiff brought this action

for the benefit of all ERISA plan participants or to resolve a

significant legal question regarding ERISA itself.           Therefore,

this factor favors the Plan.



5.   The Relative Merits of the Parties Positions

        As noted above, the Plan’s decision to deny Webster’s

request for larger benefits was an abuse of discretion that


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constituted culpable, if not bad faith, conduct.         Accordingly,

this factor favors the Plaintiff.

      As the balance of the five factors favors the Plaintiff,

attorney’s fees should be awarded.



B.   Determining Reasonable Attorney’s Fees

      In calculating an award of attorney’s fees, courts multiply

the number of reasonable hours expended by a reasonable rate.

Brodziak v. Runyon, 145 F.3d 194 (4th Cir. 1998).        In deciding

what constitutes reasonable hours and rates, courts consider: (1)

time and labor expended; (2) the novelty and difficulty of the

questions raised; (3) skill required; (4) the attorney's

opportunity costs in bringing the litigation; (5) the customary

fee for similar work; (6) the attorney's expectations at the

start of the litigation; (7) time limitations imposed; (8) the

amount in controversy and the results obtained; (9) the

experience, reputation and ability of the attorney; (10) the

undesirability of the case within the legal community in which

the suit arose; (11) the nature and length of the professional

relationship between attorney and client; and (12) attorney’s

fees awards in similar cases.      Id, see also EEOC v. Service News

Co., 898 F.2d 958, 965 (4th Cir.1990); Barber v. Kimbrell's,

Inc., 577 F.2d 216, 226 n. 28 (4th Cir. 1978).

      Plaintiff initially requested $170,516.25 in attorney’s fees

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and $11,779.36 in costs.       The Plan objected to fees charged

during the administrative appeal process and Plaintiff reduced

his request to $125,016.25 in fees and $3,746.69 in expenses.              On

June 7, 2005 Plaintiff submitted a Second Supplemental Affidavit

of Cyril Smith detailing additional fees and expenses for work

performed after the Court’s grant of summary judgment.            As the

Plan has not responded or objected to this addition, it is

incorporated.     Accordingly Plaintiff now seeks $141,924.75 in

attorney’s fees and $8,109.25 in expenses.          Second Supplemental

Affidavit of Cyril V. Smith, Exhibits A,B.

        Plaintiff’s fee request reflects 425.10 hours of work

performed by attorneys Cyril Smith and Sean Vitrano at Zuckerman

Spaeder, LLP and Robert Fitzsimmons, a West Virginia plaintiff’s

lawyer.    Mr. Smith, a partner at Zuckerman Spaeder with 19 years

experience, charged $380.00-$400.00 per hour; Mr. Vitrano an

associate with 4 years experience, charged $250.00-$265.00 per

hour.    Paralegals at Zuckerman Spaeder charged 145.00-160.00 per

hour.    Mr. Fitzsimmons, who has 27 years experience, charged

$500.00 per hour.

        The Plan argues that fees cannot be recovered for: 1) work

performed by Mr. Fitzsimmons; 2) time spent by Mr. Smith on media

related activities; 3) fees incurred in Plaintiff’s attempt to

depose Sarah Gaunt; and 4) expenses incurred.



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1.   Work Performed by Mr. Fitzsimmons

      The Plan argues that Plaintiff cannot recover attorney’s

fees for the hours charged by Mr. Fitzsimmons because: 1) fees

are requested for work performed during the administrative claims

process; 2) Mr. Fitzsimmons’ work was unnecessary and

duplicative; and 3) Mr. Fitzsimmons’ fees are excessive.

      a.   Work Performed During the Administrative Claims Process

      Plaintiff concedes fees cannot be recovered for work

performed during the administrative claims process.         Accordingly,

Plaintiff has amended his request.       The $141,924.75 in attorney’s

fees and $8,109.25 in expenses Plaintiff requests does not

include expenses incurred during the administrative claims

process.

      b.   Work Performed by Mr. Fitzsimmons

      The Plan argues that the 18.5 hours of work billed by Mr.

Fitzsimmons’ work was unnecessary and redundant.         Plaintiff

contends that Mr. Fitzsimmons provided essential review and

guidance of Mr. Smith’s work.

      As the Plan has noted, Plaintiff may not recover attorney’s

fees for duplicative work, Thomas v. Peacock, 39 F.3d 493 (4th

Cir. 1994) rev’d on other grounds, Peacock v. Thomas, 516 U.S.

349 (1996); Goodwin v. Metts, 973 F.2d 378 (4th Cir. 1992).

Although the majority of Mr. Fitzsimmons billing entries involve


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the “review” of correspondence, Plaintiff asserts that Mr.

Fitzsimmons’ participation involved sharing of factual and legal

research, development of case strategy and discussions of draft

documents.   Reply Memorandum, p. 4.     Given Mr. Fitzsimmons

knowledge of Mr. Webster and the case, this participation was

neither unnecessary nor duplicative.      Accordingly, attorney’s

fees for Mr. Fitzsimmons’ work will be awarded.

     c.   Excessive Fees

     The Plan argues that Plaintiff has failed to demonstrate

that $500.00 per hour is the prevailing rate in the district and,

therefore, Mr. Fitzsimmons’s rate of $500.00 per hour is

unreasonable.

     According to the evidence provided by Plaintiff, only two

law firms (the largest and third largest) in Baltimore charge

$500.00 per hour for their partners services.       Petition for

Attorney’s Fees, Ex. 6.    Only one, the largest firm in the city,

charges more than $500.00 per hour.      Id.   There is no showing

that the two firms that charge $500.00 or more per hour do so for

ERISA litigation.   Although Mr. Fitzsimmons is an experienced

attorney, and the Plaintiff prevailed, there is no showing that:

1) the time expended; 2) difficulty of the questions raised; 3)

the skill required by the case; 4) opportunity costs incurred; 5)

the attorney's expectations at the start of the litigation; or 6)

time limitations imposed favor an award of a rate in excess of

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the local rates.

      Accordingly, the Court will award attorney’s fees to Mr.

Fitzsimmons at the rate of $400.00 per hour, the rate charged by

co-counsel Smith.    The Plan has not argued that Mr. Smith’s rates

are unreasonable and $400.00 per hour more closely reflects

prevailing rates in the District.       Therefore, Plaintiff’s award

of attorney’s will be reduced by $1,850.00.



2.   Time Spent on Media Related Activities

      The Plan argues that the Plaintiff cannot recover attorney’s

fees for time Mr. Smith engaged in media-related activities.

Plaintiff contends that: 1) Mr. Smith was responding to a media

campaign initiated by the Plan; and 2) Mr. Smith’s communication

with the press constituted case investigation.

      Courts determining the reasonableness of fees under § 1988

apply the 12 factor test used in ERISA cases.        Rum Creek Coal

Sales, Inc. v. Caperton, 31 F.3d 169 (4th Cir. 1994).          Attorney’s

fees cannot be recovered for media related activities under the

Civil Rights Attorney Fee Act, 42 U.S.C. § 1988.         Id.

Accordingly, the Court will adopt the Rum Creek prohibition on

the recovery of attorney’s fees for media related activities.

That Plaintiff initiated the media campaign is irrelevant.

Moreover, Home Box Office’s (HBO) independently discovered


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witness helpful to the Plaintiff does not elevate the Plaintiff’s

communication with HBO to case investigation.         Accordingly,

Plaintiff will not be awarded attorney’s fees for the 6.95 hours

Mr. Smith spent on media related activities.         Therefore,

Plaintiff’s award of attorney’s fees will be reduced by

$2,747.00.




3.   Fees Incurred in Plaintiff’s Attempt to Depose Sarah Gaunt

      The Plan argues that Plaintiff should not recover attorney’s

fees for Plaintiff’s unsuccessful attempt to depose Sarah Gaunt

because recovery of fees is limited to claims on which Plaintiff

prevailed.

      When a case includes different claims based on different

facts and legal theories, an unsuccessful claim may be treated as

if it had been raised in a separate lawsuit.         Hensley v.

Eckerhart, 461 U.S. 424 (1983).       When the claim is unsuccessful,

no attorney’s fees should be awarded.       Id.   However, when the

plaintiff's claims involve a common core of facts or related

legal theories, the suit cannot be viewed as a series of discrete

claims.   Id.

      As Plaintiff’s attempted to depose Gaunt to prove that the

Plan abused its discretion in denying Webster benefits, the

attempt was directly related to the claim on which Plaintiff


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prevailed.   Accordingly, Plaintiff can recover attorney’s fees

for work performed in its attempt to depose Gaunt.



4.   Recovery of the Expenses of the Litigation

      Plaintiff has submitted a request for expenses totaling

$8,109.25. The Plan contends that Plaintiff is entitled only to

costs provided for under 28 U.S.C. § 1920, the general federal

cost statute, and therefore Plaintiff is entitled to $200 in

costs.

      Title 29 U.S.C. § 1132(g) vests discretion to award

reasonable attorney’s fees and costs in the Court.         Plaintiff’s

costs include photocopying expenses, telephone charges, research

expenses, overtime for secretaries and the cost of professional

services by Maryland First Financial; these expenses are not

unreasonable.    Accordingly Plaintiff will be awarded costs.


                                Conclusion

      As the Plaintiff was granted summary judgment, and in light

of the Plan’s conduct, Plaintiff will be awarded attorney’s fees

and costs.   Reasonable fees and costs equal the requested

$141,924.75 in attorney’s fees and $8,109.25 in expenses minus




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the $4597.00 in fees charged in excess of local rates and for

media related activities.     Accordingly attorney’s fees of

$137,327.75 and expenses of $3,847.00 will be awarded.



November 7, 2005                               /s/
Date                                    William D. Quarles, Jr.
                                        United States District Judge




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